USCA4 Appeal: 23-240      Doc: 10         Filed: 09/05/2023      Pg: 1 of 30




                                                No. 23-240


                         IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT

                        NEWREZ LLC. d/b/a Shellpoint Mortgage Servicing,
                                                               Defendant-Petitioner,
                                                  ---v.---
                                             IRENE YATES,
                                                              Plaintiff - Respondent.


                         ON PETITION FOR PERMISSION TO APPEAL
                        FROM THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                Case No. 8:21-cv-03044-TDC
                                       (Hon. Theodore T. Chuang)
         ___________________________________________________________________________________________


                   IRENE YATES’S OPPOSITION TO SHELLPOINT’S
                 FEDERAL RULE OF CIVIL PROCEDURE 23(f) PETITION


         Thomas J. Minton                Scott C. Borison                Phillip R. Robinson
         GOLDMAN & MINTON,               BORISON FIRM LLC             CONSUMER LAW CENTER
         P.C.                            1400 S. Charles Street         10125 Colesville Rd.,
         3600 Clipper Mill Rd.,          Baltimore, MD 21230                   Suite 378
         Suite 201                       (301) 620-1016               Silver Spring, MD 20901
         Baltimore, MD 21211             scott@borisonfirm.com             (301) 448-1304
         (410) 783-7575                                               phillip@marylandconsumer.com
         tminton@charmcitylegal.com


                                    Counsel for Plaintiff-Respondent
USCA4 Appeal: 23-240                Doc: 10                   Filed: 09/05/2023                  Pg: 2 of 30




                           9 6  679  6 9 779 
                                                                        
                                                      ! "# 
                                                                        
        $% &'()(*+,-.&'/+0,&12345'/+,&67,&6,738',8.8+,6(8'*9832.85,5.7.&573850.:(*.60/;<<
                4,25(.8+=(5>5>.:9**9=(&-.?'.45(9&8@A0B5>.9&(5.665,5.8(8&952.C3(2.659:(*.,6(8'*9832.
                85,5.7.&5DA1B,&(&6(-.&54,25/(8&952.C3(2.659:(*.,6(8'*9832.85,5.7.&5D,&6AEB,85,5.
                92*9',*-9).2&7.&5(8&952.C3(2.659:(*.,6(8'*9832.85,5.7.&5(&4298.',8.8FA**4,25(.8
                595>.,'5(9&(&5>.6(852('5'9325,2.'9&8(6.2.64,25(.859,7,&6,738',8.FB
        $% &'2(7(&,*,&649858'9&)('5(9&',8.8+,'92492,5.6.:.&6,&57385:(*.,6(8'*9832.85,5.7.&5F
        $% &'2(7(&,*',8.8+5>.9&(5.665,5.87385:(*.,6(8'*9832.85,5.7.&5(:5>.2.=,8,&
                92-,&(G,5(9&,*)('5(79:5>.,**.-.6'2(7(&,*,'5()(5/FA6..C3.85(9&HFB
        $%&/'92492,5.,7('38'32(,.7385:(*.,6(8'*9832.85,5.7.&5F
        $%793&8.*>,8,'9&5(&3(&-635/59346,5.5>.6(8'*9832.85,5.7.&5F
                
        
            9FINIOIPINIQIRIIII 7,45(9&@ST         IIIUVT
                                                           IIIWIXYIYIZX
                                                                     II[I\]I\I^XI_`
                                                                                  IITIaaIbIcdIeIfXIgc
                                                                                                    IIhIfiI^IiITIX_T
                                                                                                                  IIhIjIdkIdeIiIXIjlIXmIhTIeITIXIn^IIfTIoIII
        
        3283,&5591JF0,&69',*3*.1JF0+
        
        ImhITeITIXIn^
                    IIfTIoIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII
        A&,7.9:4,25/2,7('38B
        
        IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII
        
        =>9(8IIIIIIIVT       IIIobIcIeI[ITIeIfIIIIIII+7,1.85>.:9**9=(&-6(8'*9832.@
        A,44.**,&52,44.**..24.5(5(9&.222.849&6.&52,7('382(&5.2).&92B
         
         0F 84,25/2,7('38,430*('*/>.*6'92492,5(9&9295>.2430*('*/>.*6.&5(5/K L 6p 
         
         
         1F 9.84,25/2,7('38>,).,&/4,2.&5'92492,5(9&8K                                                                             L 6q 
                       :/.8+(6.&5(:/,**4,2.&5'92492,5(9&8+(&'*36(&-,**-.&.2,5(9&89:4,2.&5'92492,5(9&8@
         
         
         
         
         
         EF 803M92792.9:5>.859'19:,4,25/2,7('389=&.60/,430*('*/>.*6'92492,5(9&p92
                     95>.2430*('*/>.*6.&5(5/K                                                                                         L 6 
          :/.8+(6.&5(:/,**83'>9=&.28@
         
         
         
         
         
        0123021304677                                                      808
        
USCA4 Appeal: 23-240         Doc: 10             Filed: 09/05/2023          Pg: 3 of 30




        34 567899 78989 7  7898997778786 97
            799677897978977                   5 
           5 9697 977  7979967


        !4 56 7 79 667"9 7979786#967$ 5 
           5 9697 8999%86967& 9#7'99 979
           667 7 7897978999 %869678979 667 6
           6 996977'97 677978778996 6899


        (4 )9678669 697  &7 99                            5 
           5 967899778976799 789 9 7" 978978997  789767996
            7$6767"*$789996 976+7799"2$9897 " 7789
           7$ ",$ 97 6  7789 97 7  89
            7 787% 6*-. 978967&789974



        /4 56786  69%887899% 6  07 '7             5
           5 967891 7977966976968% 6767"*$98 07 
           '7789 7'7 "2$  07 '76  7789
            97 7  89 7 787% 6*-. 978967&
           '7778992797787 7  9797889994




         7936736389:
                      333;<3<;=338>?
                                  333@3;A373?3A33333333333333333333                ) 793333333B36C36D3E3D3F3333333
        469 3>G  3373=3?3A33H3G3A3I83J3KG3A3G338LM
                                                     333IG373333333333333


                                                             121               NOPQRSRTSNUVSWTOSVPXPQY
USCA4 Appeal: 23-240    Doc: 10        Filed: 09/05/2023   Pg: 4 of 30




                                    TABLE OF CONTENTS

                                                                                     Page

               Table of
               Authorities…………………………………………………..............                            ii


         I.    Introduction…………………………………………………………                                       1


         II.   Standard of Review…………………………………………………                                    3


         III. Analysis…………………………………………………………….                                          5

                 A. “It is well-established that a cause of action under the usury
                    statute remains available if the loan is not fully
                    paid.”………………………………………………………..                                       6

                 B. The District Court ruling is legally correct…………………                11

                 C. Shellpoint has not cited any relevant Maryland law support
                    for its argument………………………………………………                                 11

                 D. The Usury statute’s history shows that COM. LAW. § 12-111
                    is a statute of limitations…………………………………….                         14


         IV. Conclusion…………………………………………………………                                          19

               Certificate of Compliance…………………………………………                               21

               Certificate of Service………………………………………………                                22




                                                 i
USCA4 Appeal: 23-240   Doc: 10       Filed: 09/05/2023   Pg: 5 of 30




                                 TABLE OF AUTHORITIES
                                                                               Page(s)
         Cases
                       Assicurazioni Generali, S.p.A. v. Neil, 160 F.3d 997      9, 11
                       (4th Cir. 1998)

                       Border State Perpetual Bldg. Ass’n of Baltimore City     17-18
                       v. Hayes, 61 Md. 597 (1884)

                       Border State Bldg. Ass’n v. Hilleary, 68 Md. 52             18
                       (1887)

                       Brenner v. Plitt, 34 A.2d 853 (1943)                    passim

                       Broussard v. Meineke Disc. Muffler Shops, Inc., 155          4
                       F.3d 331 (4th Cir. 1998)

                       Cal Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc., 582     14-15
                       U.S. 497 (2017)

                       EQT Prod. Co. v. Adair, 764 F.3d 347 (4th Cir. 2014)       3-4

                       Est. of Naegele v. Khawaja, No. 21-2000, 2021 WL            13
                       5575213 (10th Cir. Nov. 30, 2021)

                       FWK Holdings, LLC v. Merck & Co., 7 F.4th 227 (4th           4
                       Cir. 2021)

                       Hottle v. Beech Aircraft Corp., 47 F.3d 106 (4th Cir.       11
                       1995)

                       Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich        6, 8
                       LPA, 559 U.S. 573 (2010)

                       JPMorgan Chase Bank, N.A. v. Ballard, 213 A.3d              13
                       1211 (Del. Ch. 2019)

                       Lavis v. Reverse Mortgage Solutions, LLC, No. 5:17-         12
                       CV-00209, 2017 WL 2531580 (S.D.W. Va. June 9,
                       2017)
                                               ii
USCA4 Appeal: 23-240   Doc: 10       Filed: 09/05/2023   Pg: 6 of 30




                                 TABLE OF AUTHORITIES
                                                                               Page(s)
         Cases Cont.

                       Lienhart v. Dryvit Sys., 255 F.3d 138 (4th Cir. 2001)        4

                       Mastercard Int’l Inc. v. Scoma Chiropractic, P.A.,           4
                       2022 U.S. App. LEXIS 6844 (11th Cir. March 16,
                       2022)

                       Master Fin., Inc. v. Crowder, 972 A.2d 864 (2009)          7-8

                       Mayor of Oakland v. Mayor of Mt. Lake Park, 896              9
                       A.2d 1036 (2006)

                       McKiver v. Murphy-Brown, LLC, 980 F.3d 937 (4th             11
                       Cir. 2020)

                       Miller v. Pac. Shore Funding, 92 F. App’x 933 (4th        7, 12
                       Cir. 2004)

                       Nationstar Mortg. LLC v. Kemp, 258 A.3d 296 (2021)        5, 16

                       Patton v. Wells Fargo Fin. Md., Inc., 85 A.3d 167       passim
                       (2014)

                       Second German Am. Bldg. Ass’n of Baltimore City v.       16-17
                       Newman, 50 Md. 62 (1878)

                       Shepard v. Ocwen Fed. Bank, FSB, 638 S.E.2d 197             12
                       (N.C. 2006)

                       Taylor v. Friedman, 689 A.2d 59 (1997)                     5, 8

                       Thorn v. Jefferson-Pilot Life Ins. Co., 445 F. 3d 311        5
                       (4th Cir. 2006)

                       Wal-Mart Stores v. Dukes, 564 U.S. 338 (2011)                2


                                               iii
USCA4 Appeal: 23-240   Doc: 10       Filed: 09/05/2023   Pg: 7 of 30




                                 TABLE OF AUTHORITIES
                                                                           Page(s)


         Cases Cont.

                       White v. Bank of Am., N.A., 2012 U.S. Dist. LEXIS        8
                       44044 (D. Md. March 27, 2012)

                       Woods v. Matchett, 47 Md. 390 (1877)                    16

         Statutes

                       COM. LAW §12-111                                    passim

         Statutes
         Cont.
                       COM. LAW § 12-114                                        1

                       COM. LAW § 12-121                                      1, 5

                       COM. LAW § 12-401, et seq.                               7

                       COM. LAW § 12-1019                                  passim

                       CTS. & JUD. PROC. § 5-101                                6

                       DEL. CODE ANN. Title 8, § 174                           13

                       MD. ANN. CODE ART. 49, § 6                           17-18

                       MD. ANN. CODE ART. 49, § 11                             18

                       N.C. Gen. Stat § 1-53                                   12

         Rules

                       FED. R. CIV. P. 23                                     1-3



                                               iv
USCA4 Appeal: 23-240   Doc: 10      Filed: 09/05/2023   Pg: 8 of 30




                                 TABLE OF AUTHORITIES
                                                                      Page(s)


         Other
         Authorities
                       12 C.F.R. § 1024.38                                14

                       MD. CODE REGS. 09.03.06.05                         14




                                              v
USCA4 Appeal: 23-240    Doc: 10        Filed: 09/05/2023    Pg: 9 of 30




        I.    INTRODUCTION

              Plaintiff/Respondent Irene Yates, through her undersigned attorneys,

        opposes the Petition of Defendant NewRez LLC d/b/a Shellpoint Mortgage

        Servicing (“Shellpoint”) under FED. R. CIV. P. 23(f), seeking to appeal the District

        Court’s certification of a class action filed by Ms. Yates on behalf of Maryland

        homeowners.

              The central allegation of this case is that Shellpoint, a licensed mortgage

        servicer in Maryland, imposed illegal usurious charges in the form “property

        inspection fees” on thousands of homeowners’ accounts, in violation of Maryland

        law. The statute is MD. CODE ANN., COM. LAW § 12-121, which provides:

                  (b) Except as provided in subsection (c) of this section [not
                  relevant in this case], a lender may not impose a lender’s
                  inspection fee in connection with a loan secured by residential
                  real property.

              A remedy for violations of the law is authorized in COM. LAW §

        12-114, which provides:

                  (b)(1) Any person who violates the usury provisions of this
                  subtitle shall forfeit to the borrower the greater of:
                     (i) Three times the amount of interest and charges collected
                     in excess of the interest and charges authorized by this
                     subtitle; or
                     (ii) The sum of $500.

              Shellpoint concedes that it imposed the illegal usury charge on nearly 29,000

        occasions. (Shellpoint Pet., p. 8).


                                                  1
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023   Pg: 10 of 30




              In its Petition, Shellpoint does not challenge the District Court’s factual

        finding that the class meets each of the requirements for certification under FED. R.

        CIV. P. 23(a) and (b). Shellpoint does not challenge that the requirements were met

        by the District Court’s “rigorous analysis” after a full period of discovery. Wal-

        Mart Stores v. Dukes, 564 U.S. 338, 350-351 (2011). Shellpoint does not claim

        that Ms. Yates would be excluded from the class if its theory of the statute of

        limitations were correct. Rather, at bottom Shellpoint’s Petition raises a misguided

        statute of limitations defense, expressing an ill-conceived disagreement with the

        Maryland Supreme Court’s view of Maryland law and the policy choices of the

        legislature, in an attempt to reduce the size of the class from those victimized by

        28,993 illegal charges, whose loans were still active or were deemed “satisfied”

        less than six months before suit was filed, down to those who were victimized by

        7,306 illegal charges more recently imposed unlawfully by it. (Shellpoint Pet., p.

        8).

              Shellpoint’s statute of limitations argument relies on three mistaken

        premises:




                                                  2
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 11 of 30




              (1) The District Court abused its discretion when it strictly followed the

              Supreme Court of Maryland’s interpretation of the statutory language at

              issue;1

              (2) The statute at issue must be a statute of repose, not a statute of

              limitations, despite the Supreme Court of Maryland’s contrary, stated view,

              and;

              (3) The 200-year legislative and adjudicative history of this remedial usury

              statute should be ignored, as it would make for bad public policy if illegal

              charges that were imposed on mortgage loans could be recovered by the

              borrowers while their loans were still open and unsatisfied.

        II.   STANDARD OF REVIEW

              There are two legal standards that come into play on an appeal under FED. R.

        CIV. P. 23(f). The first relates to whether the issue raised by Petitioner should be

        heard under the Rule, which is discretionary. The second relates to whether the

        certification should be upheld or reversed if the Court agrees to take up the issue.

        In its Petition, Shellpoint conflates the two standards by focusing only on the first

        part of the analysis, citing EQT Prod. Co. v. Adair, 764 F.3d 347, 357 (4th Cir.




        1
             The Supreme Court of Maryland was formerly called the Maryland Court of
        Appeals. It will be referred to by its new name throughout this memorandum.
                                                  3
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 12 of 30




        2014), in order to urge the Court to consider appealability using a “holistic”

        approach. (Shellpoint Pet., p. 7).2

              Shellpoint is only partly correct on its application of EQT. It overlooks the

        second test: “We review a district court’s decision to certify a class for abuse of

        discretion.” Id. In so holding, the EQT court relied on Lienhart v. Dryvit Sys., 255

        F.3d 138 (4th Cir. 2001), which explained: “The weakness of the district court's

        certification, viewed in terms of the likelihood of reversal under an abuse of

        discretion standard, operates on a ‘sliding scale’ in conjunction with the other

        factors enumerated by the Eleventh Circuit in [Prado-Steiman v. Bush, 221 F.3d

        1266 (11th Cir. 2000)].” Id., at 145 (emphasis added). See also FWK Holdings, LLC

        v. Merck & Co., 7 F.4th 227, 233 (4th Cir. 2021).

              The distinction between the “holistic” perspective on appealability, and the

        “abuse of discretion” standard of review is important. The issue that is appealed to

        may be consequential enough to warrant this Court’s attention, but its significance

        does not dictate the result. To overturn class certification on the narrow issue that



        2
               Shellpoint also cites Broussard v. Meineke Disc. Muffler Shops, Inc., 155
        F.3d 331 (4th Cir. 1998) as to the appealability of a decision involving the statute of
        limitations. The case addressed individualized tolling. It held: "[I]n this class
        action the statutes of limitations did not bar the claims despite evidence that some
        class members, and even some named plaintiffs, knew about the challenged
        payments from the WAC account outside the relevant limitations periods." Id. at
        344. This case presents an entirely different issue, which is a pure question of state
        law that has already been answered by the state courts.
                                                   4
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023     Pg: 13 of 30




        is the subject of its Petition, Shellpoint must demonstrate that the district court

        abused its discretion by committing an error of law. Thorn v. Jefferson-Pilot Life

        Ins. Co., 445 F. 3d 311, 317 (4th Cir. 2006). See also Mastercard Int’l Inc. v.

        Scoma Chiropractic, P.A., 2022 U.S. App. LEXIS 6844 at * 3-4 (11th Cir. March

        16, 2022). This Shellpoint cannot do. The District Court was bound by, and

        properly applied, Supreme Court of Maryland precedent.



        III.   ANALYSIS

               Shellpoint’s Petition is unsupported by any relevant authority, and rests on a

        construct that the Supreme Court of Maryland has specifically rejected. It also

        runs counter to the strong condemnation of usurious mortgage fees articulated by

        the Supreme Court of Maryland in Nationstar Mortg. LLC v. Kemp, 258 A.3d 296

        (2021) and Taylor v. Friedman, 689 A.2d 59, 60 (1997).

               As also noted in Kemp: “Since at least January 2014, the Maryland

        Commissioner of Financial Regulation has taken the position that mortgage

        servicers…are subject to the prohibition on inspection fees in CL § 12-121 during

        the life of a mortgage loan.” Kemp, 258 A.3d at 303. Shellpoint systematically

        disregarded the agency’s direction on nearly 29,000 occasions. (Shellpoint Pet., p.

        8). Shellpoint’s claim that the illegality of its scheme was apparent “only in the

        last few years” rings hollow. (Shellpoint Pet., p. 20).


                                                   5
USCA4 Appeal: 23-240    Doc: 10        Filed: 09/05/2023       Pg: 14 of 30




                  [The Supreme Court has] long recognized the “common
                  maxim, familiar to all minds, that ignorance of the law will not
                  excuse any person, either civilly or criminally.” Barlow v.
                  United States, 7 Pet. 404, 411, 8 L.Ed. 728 (1833) (opinion for
                  the Court by Story, J.); see also Cheek v. United States, 498
                  U.S. 192, 199, 111 S.Ct. 604, 112 L.Ed.2d 617 (1991) (“The
                  general rule that ignorance of the law or a mistake of law is no
                  defense to criminal prosecution is deeply rooted in the
                  American legal system”). Our law is therefore no stranger to
                  the possibility that an act may be “intentional” for purposes of
                  civil liability, even if the actor lacked actual knowledge that
                  her conduct violated the law.

        Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 581–83

        (2010).

              Shellpoint contends Maryland’s general three-year statute of limitations

        applies to Ms. Yates’s and the class members’ claims. The general provision, CTS.

        & JUD. PROC. § 5-101, provides: “A civil action at law shall be filed within three

        years from the date it accrues unless another provision of the Code provides a

        different period of time within which an action shall be commenced.”

        (Emphasis added). By its terms, the general CTS. & JUD. PROC. § 5-101 statute of

        limitations gives way to a more specific statute such as COM. LAW §12-111(b) that

        applies to the usury claims advanced in this action.

              A. “It is well-established that a cause of action under the usury statute
              remains available if the loan is not fully paid.” 3



        3
             Patton v. Wells Fargo Fin. Md., Inc., 85 A.3d 167, 180 (2014), citing
        Brenner v. Plitt, 34 A.2d 853 (1943).
                                                  6
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 15 of 30




              The Usury statute, like many other statutes, provides its own statute of

        limitations. COM. LAW. § 12-111. Indeed, three of the subtitles of Title 12 of the

        Maryland Commercial Code that govern the terms under which extensions of

        credit are made contain their own statutes of limitations. Two of them, the Closed

        End Credit Provisions (“CLEC” - Subtitle 10) and the Usury statute (Subtitle 1),

        have identically worded statutes of limitations that expire “six months after the

        loan is satisfied.” (COM. LAW §§ 12-111; 12-1019).4

              In analyzing the limitations issue where the cause of action is statutory a

        court must first determine whether the statute provides its own limitations period.

        In Master Fin., Inc. v. Crowder, 972 A.2d 864, 873 (2009), the Supreme Court of

        Maryland explained this guiding principle as follows:

                  Because we are dealing with statutes, one preliminary and
                  possibly decisive factor is whether the Legislature has
                  provided a specific period of limitations for enforcement of
                  the statute. Some statutes that prohibit or require conduct and
                  provide remedies for violations contain such provisions, and if
                  they do, those provisions ordinarily will govern. See, for
                  example, CL § 11-109(c) (requiring that civil action seeking
                  damages for violation of Foreign Discriminatory Boycotts Act
                  be brought within four years); CL § 11-209(d) (same for

        4
                Notably, Maryland’s Secondary Mortgage Loan Act (COM. LAW. §§ 12-
        401, et seq.) does not contain its own limitations provision. Thus, Shellpoint’s
        reliance upon this Court’s unpublished decision in Miller v. Pac. Shore Funding,
        92 F. App’x 933, 937 (4th Cir. 2004) (cited in Shellpoint Pet., p. 14) is misplaced.
        [T]he issue in Miller was whether the district court properly rejected the plaintiffs’
        effort to toll the applicable statute of limitations. In this case, Ms. Yates’s claims
        and the claims of the Class do not invoke tolling, and no part of the class
        certification Order involves tolling.
                                                   7
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 16 of 30




                  bringing civil action for damages for violation of Antitrust
                  Act); CL § 12-1019 (requiring that civil action for violation of
                  Credit Grantor Closed End Credit Act be filed no later than six
                  months after loan is satisfied). The issue of CJP § 5-102(a)(6)
                  ordinarily arises only if the regulatory statute is silent in that
                  regard.

        Id.

              The last reference in the quoted passage, to COM. LAW § 12-1019, has added

        significance here, both because Crowder deemed it a “statute of limitations,” not a

        statute of repose, and because COM. LAW § 12-1019 is identical to, and was

        derived directly from the usury statute, COM. LAW § 12-111. See also White v.

        Bank of Am., N.A., No. CIV. CCB-10-1183, 2012 WL 1067657, at *8 (D. Md.

        Mar. 27, 2012)(“Contrary to defendants’ contention, however, CLEC does have a

        statute of limitations, which requires that suit be brought no more than ‘six months

        after the loan is satisfied’”)(cleaned up). Since it ignored the precedents of Taylor,

        Crowder, Patton and its own regulator’s guidance, Shellpoint now claims that the

        legal issue is “unsettled” as to COM. LAW § 12-111 (Shellpoint Pet., p. 18), but that

        assertion is wrong and the legal error cannot be excused. Jerman, 559 U.S. at 581–

        83.

               The Supreme Court of Maryland has spoken clearly and unambiguously on

        COM. LAW § 12-111 when interpreting Com. Law § 12-1019’s identical language.

        The District Court did not have to devise its own interpretation of COM. LAW § 12-

        111 because the Maryland Supreme Court already had done so.
                                                  8
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 17 of 30




              Federal courts applying Maryland law are obligated to follow the controlling

        decisions of Maryland’s highest court. This Court has said:

                  It is axiomatic that in determining state law a federal court
                  must look first and foremost to the law of the state's highest
                  court, giving appropriate effect to all its implications. A state's
                  highest court need not have previously decided a case with
                  identical facts for state law to be clear. It is enough that a fair
                  reading of a decision by a state's highest court directs one to a
                  particular conclusion.

        Assicurazioni Generali, S.p.A. v. Neil, 160 F.3d 997, 1002 (4th Cir. 1998).

              The District Court’s application of the limitations law to this case was fully

        informed by the Supreme Court of Maryland’s thorough discussion of the statutory

        language in Patton. Shellpoint’s theoretical premise that the law is “unsettled”

        rests on the unsound assumption that when the Supreme Court of Maryland

        analyzed COM. LAW § 12-111 in detail as the source for the wording of COM. LAW

        § 12-1019 in Patton, it left open the possibility that the identical statutory language

        would mean something different in each statute. The argument runs counter to a

        fundamental rule of statutory construction. “In construing statutes, we presume that

        the General Assembly acted with full knowledge of prior legislation and intended

        statutes affecting the same subject matter ‘to blend into a consistent and

        harmonious body of law….’ Therefore, we read together statutes on the same

        subject and harmonize them to the extent possible….” Mayor of Oakland v. Mayor

        of Mt. Lake Park, 896 A.2d 1036, 1045 (2006).


                                                   9
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 18 of 30




              Shellpoint’s argument also directly contradicts what the Supreme Court of

        Maryland has said about COM. LAW § 12-111. The limitations provision at issue in

        Patton was the identical COM. LAW § 12-1019. The Court wrote: “A review of the

        legislative history of CL §12-1019 leaves no doubt that the General Assembly

        intended to create a statute of limitations for actions alleging violations of CLEC.”

        Patton, 85 A.3d at 179 (emphasis added). Further:

                  [T]here is no mystery as to where the Legislature obtained the
                  language of CL §12-1019. As the bill file indicates, at the time
                  CL §12-1019 was enacted, another statute that regulated over-
                  reaching by lenders as to consumer borrowers already
                  contained a statute of limitations for actions brought by a
                  borrower alleging a violation by a lender. In particular, then as
                  now, the usury statute had a limitations provision, which
                  reads as follows: "An action for usury under this subtitle may
                  not be brought more than six months after the loan is
                  satisfied." CL §12-111. Even if the bill file were not explicit, it
                  is evident that this provision was the source for the language
                  adopted for the CLEC statute of limitations….

                  It is well-established that a cause of action under the usury
                  statute — the model for CL §12-1019 — remains available if
                  the loan is not fully paid. See Brenner v. Plitt, 182 Md. 348,
                  34 A.2d 853 (1943).

        Id., at 180 (emphasis added).

              This statement does not show a legal framework that is “unsettled.” The

        Supreme Court of Maryland has deemed it to be “well-established,” which is the

        opposite of “unsettled.” The scope of the certified class in this case is precisely the

        scope that “well-established” Maryland law prescribes.


                                                  10
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023   Pg: 19 of 30




              B. The District Court ruling is legally correct.

              When the Supreme Court of Maryland writes that “it is well-established that

        a cause of action under the usury statute … remains available if the loan is not

        fully paid,” a federal court cannot be said to have abused its discretion in applying

        that law to this case. Assicurazioni, 160 F.3d at 1002; McKiver v. Murphy-Brown,

        LLC, 980 F.3d 937, 963-64 (4th Cir. 2020); Hottle v. Beech Aircraft Corp., 47 F.3d

        106, 109 (4th Cir. 1995).

              More specifically, in this case the District Court was correct when it wrote:

        “In Patton, the court specifically found that [COM. LAW § 12-1019] derives from

        and uses the same language as the statute of limitations for the Maryland Usury

        Law…. Shellpoint has identified no case law – and the court is unaware of any –

        stating that MD. CODE ANN., COM. LAW § 12-111 is a statute of repose….”

        Because “the statute of limitations for [CLEC] has been interpreted to permit

        causes of action to be brought up to six months after a loan has been satisfied,” the

        District Court was also correct to hold that identical language in “Section 12-111

        establishes the statute of limitations for claims under the Maryland Usury Law.”

        Any other result would be legally erroneous and would be in direct conflict with

        the holdings of the Supreme Court of Maryland which has already answered

        Maryland law on this point.

              C. Shellpoint has not cited any relevant Maryland law support for
              its argument
                                                  11
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 20 of 30




              Shellpoint’s failure to find legal support under Maryland law to avoid the

        clear statement of the Supreme Court of Maryland in Patton persists in this Court.

        The unreported case of Miller 92 F. App’x at 937 does arise under another title of

        the Maryland Commercial Code, but neither CLEC nor the Usury statute is

        implicated. Miller addressed tolling with respect to a statute that does not have its

        own limitations provision. No party has made any claim related to tolling in this

        action.

              In Lavis v. Reverse Mortgage Solutions, LLC, No. 5:17-CV-00209, 2017

        WL 2531580 (S.D.W. Va. June 9, 2017), the court explicitly recognized that the

        West Virginia statute governing the allegedly illegal fees “[did] not contain a

        statute of limitations provision, and the West Virginia Supreme Court of Appeals

        has not determined the appropriate statute of limitations.” Id. at *4. The case has

        no relevance here; the class claims do not involve any West Virginia statute.

              Shellpoint also points to Shepard v. Ocwen Fed. Bank, FSB, 638 S.E.2d 197

        (N.C. 2006) which concerns claims arising under N.C. GEN. STAT § 1-53. That

        statute provides that “an action to recover the penalty for usury, including an action

        regarding … usurious fees, or other usurious charges” must be brought within “two

        years.” Id. This statute is worded differently from Maryland law at issue in this

        action and the intricacies of North Carolina law are irrelevant. Simply, Shepard

        does not provide any guidance with respect to Maryland’s statutory scheme.


                                                  12
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 21 of 30




              Shellpoint also relies upon JPMorgan Chase Bank, N.A. v. Ballard, 213

        A.3d 1211 (Del. Ch. 2019) which is a case involving director liability for the

        payment of wrongful dividends. The statute at issue, DEL. CODE ANN. Title 8, §

        174 provided a six-year period in which suit could be filed to recover the

        payments. The Delaware Chancery Court determined that the § 174 claim was

        untimely because the plaintiff did not file the action until “more than six years after

        any of the challenged dividends were paid.” Ballard, 213 A.3d at 1216. The court

        used the term “statute of repose,” but it does not appear to have done so in a

        manner that illuminates any issue in this case. In any event, Delaware Chancery

        Court did not address Maryland’s usury statute.

              Finally, the Tenth Circuit in the Est. of Naegele v. Khawaja, No. 21-2000,

        2021 WL 5575213 (10th Cir. Nov. 30, 2021) considered a wrongful death action

        brought under the laws of New Mexico relating to public employees. Id. at *1.

        The statute in question provided an explicit two-year limitations period, which the

        court deemed strictly enforceable, notwithstanding the “discovery” rule and a

        separate statute of repose. Id., at *4-5. This case does not involve any New

        Mexico statute or law.

              The Supreme Court of Maryland has addressed and answered the legal

        question presented by Shellpoint’s Petition. There is no reason for this Court to




                                                  13
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 22 of 30




        look to other state laws or other statutory schemes for direction, and the District

        Court would have committed legal error had it done so.

              D. The Usury statute’s history shows that COM. LAW. § 12-111 is a statute
              of limitations

              Much of the discussion in the cases relied upon by Shellpoint focuses on

        statutory “tolling” issues. In general, statutes of repose embody a public policy

        that puts a limit on tolling. Nothing about COM. LAW § 12-111 suggests that

        tolling was a concern for the Maryland legislature. Rather, the history of the

        statute demonstrates that the principal purpose behind the enactment of the

        provision was to ensure that victims of usurious charges could pursue their claims

        so long as the loan was open (as they could at common law) and six months

        beyond that, if the loans were not yet satisfied.

              Shellpoint’s more general discussion of statutes of repose seems designed to

        suggest that it would be unwise, or perhaps unfair, to hold Shellpoint liable for its

        statutory violations more than three years after they were committed.5 For

        example, Shellpoint invokes the Supreme Court’s holding in Cal Pub. Employees’


        5
                For this argument it should be noted that Shellpoint is required pursuant to
        its license to act as a Maryland mortgage servicer to track and maintain all the
        necessary data for each mortgage loan its services. See e.g. MD. CODE REGS.
        09.03.06.05. See also 12 C.F.R. § 1024.38. So, Shellpoint cannot candidly claim
        it has any unusual burdens by applying the legally correct statute of limitations to
        Ms. Yates’ claims in COM. LAW § 12-111 since it has all the necessary records to
        identify the class members and necessary data as part of its legal duties.

                                                  14
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023     Pg: 23 of 30




        Ret. Sys. v. ANZ Sec., Inc., 582 U.S. 497, 505 (2017) to argue that statutes of

        repose are enacted to give more explicit protections to defendants, such that they

        are “free from liability after a legislatively determined period of time.” Id.,

        quoting CTS Corp. v. Waldburger, 573 U.S. 1, 9 (2014). The statutes in these

        cases, however, were explicit as to both limitations periods and applicable statutes

        of repose. The North Carolina statute at issue in Waldburger unambiguously

        restricted the tolling of a statute of limitations based on the “discovery” rule. “Like

        a discharge in bankruptcy, a statute of repose can be said to provide a fresh start or

        freedom from liability.” Id., at 9. In Maryland, however, mortgage servicers do

        not get a “fresh start” to foist illegal charges on borrowers every three years, if the

        loan is still open and remains unsatisfied to avoid the result of their usurious

        conduct.

              Moreover, Shellpoint’s invocation of this “fresh start” protection runs

        contrary to the history of usury legislation and jurisprudence in Maryland, where

        violations of the usury statute have always been strongly condemned.

                   Usury is a moral taint wherever it exists and no subterfuge
                   shall be permitted to conceal it from the eye of the law. In
                   Andrews v. Poe, 30 Md. 485, it is said that "it matters not in
                   what part of the transaction it may lurk, or what form it may
                   take … or under whatever guise the lender -- always fruitful
                   in expedients -- may attempt to evade the law, Courts of
                   justice, disregarding the shadow and looking to the substance,
                   will ascertain what in truth was the contract between the
                   parties." [T]he court in the case of Woods v. Matchett, 47 Md.
                                                   15
USCA4 Appeal: 23-240     Doc: 10         Filed: 09/05/2023    Pg: 24 of 30




                  390, decided in 1877, says: "It is well settled in this State that
                  a Court of equity will grant relief against the payment of
                  usurious interest, even after judgment, and further than this,
                  that an action at law would lie prior to the Act of 1876, to
                  recover excessive interest actually paid.”

        Brenner v. Plitt, 34 A.2d 853, 858 (1943). See also Kemp, 258 A.3d at 302 (“since

        money is fungible and people are creative, efforts to circumvent the restrictions of

        the Usury Law have sometimes taken the form of fees or other charges that were

        assessed to the borrower”).

              Over the years, this harsh view of usury has translated into a clear and

        expansive statute of limitations – one that runs with the life of the loan and for six

        months after it has been “satisfied.” Prior versions of the modern statute modified

        the common law, which had allowed a borrower to pursue a claim for usury at any

        time, starting after the first payment of illegal interest and continuing indefinitely,

        even after a judgment on the debt. Woods v. Matchett, 47 Md. 390 (1877) (“It is

        well settled in this State that a Court of equity will grant relief against the payment

        of usurious interest, even after judgment, and further than this, that an action at law

        would lie prior to the Act of 1876 to recover excessive interest actually paid”).

              As recognized by the court in Second German Am. Bldg. Ass’n of Baltimore

        City v. Newman, 50 Md. 62 (1878), the legislature in 1876 dramatically altered that

        common law right:



                                                   16
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023     Pg: 25 of 30




                  It has been decided in Scott v. Leary, 34 Md. 389, that a party
                  who has paid usury, was entitled to recover it back in an action
                  at law; and the same decision was made in Williar’s Appeal,
                  45 Md. 546. The intent of the Act of 1876 was to change the
                  law in this respect, and to take away such right of action, in
                  cases where the transaction has been closed and finally settled
                  by the parties, and the debt has been paid and satisfied.

        Id. See also Border State Perpetual Bldg. Ass’n of Baltimore City v. Hayes, 61

        Md. 597 (1884) (“Prior to the Act of 1876 the debtor, who had paid usurious

        interest, had the right to recover back the excess over the legal rate, in an action for

        money had and received, notwithstanding the debt had been fully paid, and the

        transaction closed between the parties. This Act made a change in the law….”)

              As the court discussed in Brenner, the 1876 statute became codified in 1939

        as MD. ANN. CODE ART. 49, § 6.6 Brenner explains that the issue that commonly

        arose under the usury statute in previous cases under the 1876 Act was whether a

        loan remained open such that a cause of action for usury was still available to the

        borrower. Id., citing Border State v. Hayes, 61 Md. at 600 (“The original

        transaction is not closed and settled, and the appellee has therefore the right to a




        6
              The Brenner case contains a more detailed chronology of the statute’s
        evolution through various versions of the Code in the 19 th and early 20th centuries.
        For purposes of this analysis, the essential feature that was originally enacted in
        1876 to cut off usury claims at the time of the last payment and the “closing” of the
        transaction, was held by the court in Brenner to have remained in force throughout
        all amendments. 34 A.2d at 859.

                                                   17
USCA4 Appeal: 23-240     Doc: 10        Filed: 09/05/2023    Pg: 26 of 30




        rebate of all the usurious interest he has paid on the original mortgage.”). See also

        Border State Bldg. Ass’n v. Hilleary, 68 Md. 52, 11 A. 505 (1887).

              In 1968, the legislature repealed MD. ANN. CODE ART. 49, § 6 and replaced it

        with MD. ANN. CODE ART. 49, § 11, which stated:

                  Nothing in the preceding sections of this Article shall be
                  construed to make usury a cause of action in any case after the
                  bond, bill obligatory, promissory note, bill of exchange,
                  mortgage, or note secured by a deed of trust, security
                  agreement, or other evidence of indebtedness, has been
                  redeemed or settled for in money or other valuable
                  consideration for six months.

        Id. (Emphasis added).

              The three words added to the end of the statute in 1968 were new. When the

        Commercial Law Article was enacted in 1975, MD. ANN. CODE ART. 49, § 11 was

        replaced with Subtitle 1 of Title 12. Following form and replacing the words

        “redeemed or settled” with the word “satisfied,” COM. LAW § 12-111 states: “An

        action for usury under this subtitle may not be brought more than six months after

        the loan is satisfied.” The provision creates finality for the lender –which is what

        Shellpoint complains is lacking - but it does not purport to eliminate the common

        law right of the borrower to recover usurious interest and fees for as long as the

        loan remained open. From the borrower’s perspective, the legislation extends the

        limitations period beyond the time of the last installment payment.




                                                  18
USCA4 Appeal: 23-240     Doc: 10         Filed: 09/05/2023     Pg: 27 of 30




              This modern version of the statute, which remains in place and controls and

        governs this case, prescribes who is in the certified class. Nothing in the long

        history of the statute indicates that the real limitations period is just three years.

        The District Court’s decision is historically correct, and legally sound under the

        controlling analysis in Patton. The issue was “settled” with the enactment of the

        modern version of Section 12, Title 1 of the Maryland Commercial Code.

        IV.   CONCLUSION

              The decision of the District Court certifying a class in this matter is factually

        and legally correct. Shellpoint’s focused attack on one aspect of the ruling, in

        which the court rejected Shellpoint’s unsupported effort to reduce the class size by

        reference to an inapplicable statute of limitations, should also be rejected by this

        Court. The law as to the limitations period for private actions seeking recovery of

        usurious and illegal charges has been established since at least 1939, when the

        prior version of the Commercial Code was enacted, as made clear by the Supreme

        Court of Maryland in 1943 in Brenner. The Patton court’s holding with respect to

        the modern version of the limitations provision is consistent with historical

        precedent, and binding on the federal courts.

                                      [Signatures on Next Page]




                                                    19
USCA4 Appeal: 23-240   Doc: 10     Filed: 09/05/2023   Pg: 28 of 30




        Dated: September 4, 2023

                                          Respectfully submitted,

                                              /s/Scott C. Borison
                                              Scott C. Borison (Bar No. 22596)
                                              BORISON FIRM LLC
                                              1400 S. Charles Street
                                              Baltimore, Maryland 21230
                                              (301) 620-1016
                                              scott@borisonfirm.com

                                              /s/Phillip Robinson
                                              Phillip R. Robinson (Bar No. 27824)
                                              CONSUMER LAW CENTER LLC
                                              10125 Colesville Road, Suite 378
                                              Silver Spring, Maryland 20901
                                              (301) 448-1304
                                              phillip@marylandconsumer.com

                                              /s/ Thomas J. Minton
                                              Thomas J. Minton (Bar No. 03370)
                                              GOLDMAN & MINTON, P.C.
                                              3600 Clipper Mill Road, Suite 201
                                              Baltimore, Maryland 21211
                                              (410) 783-7575
                                              tminton@charmcitylegal.com

                                              Counsel for Plaintiff-Respondent and
                                              the Class and Putative Usury Class
                                              Members




                                            20
USCA4 Appeal: 23-240    Doc: 10       Filed: 09/05/2023    Pg: 29 of 30




                            CERTIFICATION OF COMPLIANCE

        This brief complies with the type-volume limitation of Fed. R. App. P. 32(a)(7)(B)
        because:

                 • This brief contains 4,840 words, excluding the parts of the brief

                    exempted by Fed. R. App. P. 32(f).

        This brief complies with the typeface and type style requirements of Fed. R. App.
        P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because:

                 • This brief has been prepared in a proportionally spaced, 14-point
                   Times New Roman font using Microsoft Word.

                                                     /s/ Phillip Robinson
                                                     Phillip Robinson




                                                21
USCA4 Appeal: 23-240      Doc: 10           Filed: 09/05/2023   Pg: 30 of 30




                                    CERTIFICATE OF SERVICE

               I hereby certify that on September 5, 2023, an electronic copy of the foregoing

        Responding Brief for Appellee was filed with the Clerk of the United States Court of

        Appeals for the Fourth Circuit using the appellate CM/ECF system. I further certify that

        all parties in the case are represented by lead counsel who are registered CM/ECF users

        and that service will be accomplished by the appellate CM/ECF system upon the following:


        Matthew A. Fitzgerald
        Brian E. Pumphrey
        MCGUIRE WOODS LLP
        800 East Canal Street
        Richmond, VA 23219
        T: (804) 775-4716
        F: (804) 698-2251
        mfitzgerald@mcguirewoods.com
        bpumphrey@mcguirewoods.com

        Mellisa O. Martinez
        MCGUIRE WOODS LLP
        500 East Pratt Street, Suite 1000
        Baltimore, MD 21202
        T: (410) 659-4432
        F: (410) 659-4482
        mmartinez@mcguirewoods.com

                                                          /s/ Phillip Robinson
                                                          Phillip Robinson




                                                     22
